                      IN THE UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF KANSAS (Kansas City)

In Re:                                        )
Mark H. Engen                                 )       Case No. 15-20184
Maureen E. Engen                              )       Chapter 13
                                              )
                 Debtors.                     )

                            OBJECTION TO CHAPTER 13 PLAN

       COMES NOW BMO Harris Bank, N.A., successor by merger to M&I Bank, FSB

(hereinafter “BMO”) by and through its attorney of record, pursuant to 11 U.S.C. §1325 and

respectfully objects to Debtors’ Amended Chapter 13 Plan and in support thereof states as follows:

       1.      On February 4, 2015, debtors filed a joint petition for relief under Chapter 13 of the

United States Bankruptcy Code. On May 4, 2015, debtors filed an Amended Chapter 13 Plan.

       2.      BMO holds a valid lien and security interest in the real property located at 7905

W. 96th Street, Overland Park, KS 66212 by virtue of a Balloon Note dated June 13, 2003,

secured by a Mortgage as recorded on June 20, 2003, in Book 9125 at Page 505 as executed by

Mark H. Engen and Maureen E. Engen in the original amount of $182,000.00 and has a current

unpaid principal balance of $179,104.53. A copy of the Balloon Note, Mortgage and Assignment

are attached hereto as Exhibit “A”

       3.      Debtors Amended Chapter 13 Plan lists the property to be paid through the plan at

$165,757.00 with an estimated pre-petition arrearage amount. Further, the plan states this debt

will be paid through the plan and at the completion of the term of the Plan, Debtors will resume

monthly mortgage payments directly to the real property creditor pursuant to the terms of

mortgage contract.

       4. BMO objects to the treatment valuation of this property and the treatment in the

Chapter 13 Plan. Pursuant to the terms of Note and Mortgage, this obligation fully matures on




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July 1, 2018, and the full balance is due and payable no later than July 1, 2018. Therefore, the

Note matures before the completion of the plan length. The plan treatment is not feasible as the

total treatment set out is not sufficient to pay off the mortgage during the plan term. The Plan

states that at the completion of the term of the Plan, Debtor will resume monthly mortgage

payments directly to the real property creditor pursuant to the terms of the mortgage contract.

As stated, this is not possible because of the maturity date of the obligation.

       WHEREFORE, BMO respectfully requests that the court deny confirmation of the

debtors’ Chapter 13 Bankruptcy Plan, and for such other and further relief as the court may deem

just and proper.

                                               Respectfully submitted,

                                               LEWIS RICE LLC

                                                       /s/ Sheldon R. Singer
                                               Sheldon R Singer, #10915
                                               10484 Marty Street
                                               Overland Park, KS 66212
                                               (913) 648-6333 / Fax: (913) 642-8742
                                               srsinger@lewisricekc.com
                                               ATTORNEY FOR SECURED CREDITOR
                                               BMO Harris Bank, N.A., successor by merger
                                               To M&I Bank, FSB




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                               CERTIFICATE OF MAILING

       The undersigned hereby certifies that a copy of the Objection to Chapter 13 Plan was
deposited in United States mail, postage prepaid, this 22nd day of May, 2015, to the following:

Mark H. Engen                       Teresa M. Kidd                 William H Griffin
Maureen E. Engen                    8700 Monrovia, Suite 310       5115 Roe Blvd., Suite 200
7905 W. 96th Street                 Lenexa, KS 66215               Roeland Park, KS 66205
Overland Park, KS 66212             Debtors’ Attorney              Trustee
Debtors

                                                          /s/ Sheldon R. Singer
                                                   Sheldon R. Singer
                                                   Attorney for Secured Creditor




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